                         Case 2:10-cv-08888-CJB-JCW Document 66473 Filed 04/20/11 Page 1 of 3
                                         IN RE: OIL SPILL by "Deepwater Horizon"
                                               JIRECT FILING SHORT FORM1
                              Authorized by Or :fer of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
               (Copies        of said Order h. ving also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL2179                                                                SECTION:    J                                               JUDGE CARL BARBIER

       CLAIM IN L1MITATION-JO NDER IN MASTER ANSWER-INTERVENTION     AND JOINDER
                IN MASTER con ~PLAINTS - PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., NO.10-2771; adopt and incorpo ate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; andlor intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private econolT ic losses ("B1 Bundle") filed in MOL No. 2179 (10 md 2179); andlor intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries ("B3 Bundle")
    filed in MOL No. 2179 (10 md 2179).


     Last Name                                          First Name                                      Middle Name/Maiden                          Suffix
     Lauritzen                                          Marlo                                           M.

     Phone Number                                                                      E-Mail Address
     206-724-9495                                                                      marlosdive@yahoo.com
    Address                                                                            City / State / Zip
     133 S. 41st Street                                                                Bellingham, WA 98229

     INDIVIDUALCLAIM                                                                   BUSINESSCLAIM
     Employer Name                                                                     Business Name
    Veolia ES
    Job Title / Description                                                            Type of Business
     Life Support Technician
    Address                                                                            Address
     149 Woodland Dr.
    City / State / Zip                                                                 City / State / Zip
     LaPlace, LA 70068
     Last 4 digits of your Social Security Number                                      Last 4 digits of your Tax ID Number
     6521

    Attorney Name                                                                      Firm Name
    PAUL STERBCOW                                                                      LEWIS, KULLMAN,        STERBCOW          & ABRAMSON
    Address                                                                            City / State / Zip
    601 POYDRAS ST., SUITE 2615                                                        NEW ORLEANS/LA/70130

     Phone Number                                                                      E-Mail Address
     504-588-1500                                                                      STERBCOW@LKSALAW.COM



    Claim filed with BP?            YES               ~O                               Claim Filed with GCCF?:           YES            NO ~
                                                             ~
     If yes, BP Claim No.:                                                             If yes, Claimant Identification   No.:   In process of submitting

    Claim Type (Please check all that apply):
                  Damage or destruction to real or personal property                              Fear of Future Injury and/or Medical Monitoring
              ~   Earnings/Profit Loss                                                            Loss of Subsistence use of Natural Resources
                  Personal Injury/Death                                                           Removal and/or clean-up costs
                                                                                                 Other:




1 ThiS form   should be filed with the u.s. District ( ourt for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 10-8888. While this Direct Filing Short Form is tc be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in
MOL 2179), the filing of this form in CA. No. 10-888~ shall be deemed to be simultaneously filed in CA. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filin of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
                                                                                   1

          The filing of this Direct Filing Short F< rm shall also serve in lieu of the requirement              of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1.     For earnings/profit loss, property amage and loss of subsistence use claims, describe the nature of the injury. For claims
       involving real estate/property, inc ude the property location, type of property (residential/commercial), and whether physical
       damage occurred. For claims rei ting to fishing of any type, include the type and location of fishing grounds at issue.

       As a Commercial Diver serv cin                the offshore oil indust         in the Gulf of Mexico          Plaintiff/Claimant

  has suffered and continues                   0 suffer   severe economic losses as a direct result of the Defendants'
=====~=====                                                      ====       ==~         --~~---               -




 3.     For personal injury claims, descri e the injury, how and when it was sustained, and identify all health care providers and
        employers 2008 to present and c mplete authorization forms for each.




 4.     For post-explosion claims relate to clean-up or removal, include your role in the clean-up activities, the name of your
        employer, and where you were w rking.




                                                                         2

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     D   1.   Commercial      fisherman, shri per, crabber,           or oysterman,        or the owner and operator        of a business       involving     fishing,
               shrimping,    crabbing or oyste ng.

     D   2.   Seafood processor,        distribut    r, retail and seafood    market, or restaurant       owner and operator,        or an employee          thereof.

     0   3.   Recreational business owne , operator or worker, including a recreational fishing                         business,    commercial      guide service,      or
              charter fishing business who earn their living through the use of the Gulf of Mexico.

         4.   Commercial   business, busi ess owner, operator or worker, including commercial                              divers,   offshore     oilfield    service,
               repair and supply, real estat agents, and supply companies, or an employee thereof.

     0   5.   Recreational      sport fisherme       ,recreational    diver, beach goer, or recreational       boater.

     0   6.   Plant and dock worker,         inclu   ing commercial       seafood   plant worker,      longshoreman,      or ferry operator.

     0   7.     Owner, lessor, or lessee of eal property alleged to be damaged,                      harmed or impacted,     physically   or economically,          including
              lessees of oyster beds.

     o 8.     Hotel owner and operator,          v cation rental owner and agent, or all those who earn their living from the tourism industry.

     o 9.     Bank, financial     institution,   or retail business    that suffered    losses as a result of the spill.

     o 10. Person who utilizes natural resources for subsistence.
     o 11. Other.
  Post-Explosion Personallniurv.                     edical Monitorina. and Property Damaae Related to Cleanup (Bundle B3)
     o 1.     Boat captain      or crew involveCl in the Vessels          of Opportunity     program.

     o 2.     Worker involved       in deconta       inating vessels that came into contact with oil and/or chemical                 dispersants.

     o 3.     Vessel captain or crew who             as not involved in the Vessels of Opportunity           program     but who were exposed to harmful
               chemicals, odors and emissi           ns during post-explosion clean-up activities.

     D 4.     Clean-up   worker or beach p rsonnel involved               in clean-up   activities   along shorelines     and intercoastal      and intertidal zones.

     o 5.     Resident   who lives or works          in close proximity     to coastal waters.

     o 6.     Other:



Both BP and the Gulf Coast Claims Facility ("GCCF") are hereby authorized to release to the Defendants in MOL
2179 all information and documents        ubmitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to suc information being treated as "Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial     rder No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applica e) filing this form and PSC through Plaintiff Liaison Counsel.




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    The filing of this Direct Filing Short F< rm shall also serve in lieu of the requirement                   of a Plaintiff to file a Plaintiff Profile Form.
